     Case 1:25-cv-10276-GAO   Document 39-1   Filed 02/06/25    Page 1 of 31



                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

AMERICAN FEDERATION OF                   )
GOVERNMENT EMPLOYEES, AFL-CIO,           )
et al.,                                  )
                                         )
      Plaintiffs,                        )
                                         )
v.                                       )     Civil Action No. 1:25-cv-10276
                                         )
CHARLES EZELL, ACTING DIRECTOR,          )
OFFICE OF PERSONNEL                      )
MANAGEMENT, et al,                       )
                                         )
      Defendants.                        )

             DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR
                    TEMPORARY RESTRAINING ORDER
         Case 1:25-cv-10276-GAO                                Document 39-1                     Filed 02/06/25                   Page 2 of 31



                                             TABLE OF CONTENTS

INTRODUCTION ........................................................................................................................................... 1

I.          FACTUAL AND LEGAL BACKGROUND ................................................................................ 3

            A.          OPM’s Voluntary Resignation Program ............................................................................. 3

            B.          Standards for Emergency Relief ........................................................................................... 5

II.         PROCEDURAL HISTORY .............................................................................................................. 6

ARGUMENT..................................................................................................................................................... 6

I.          PLAINTIFFS CANNOT ESTABLISH IRREPARABLE HARM OR ARTICLE III
            STANDING ......................................................................................................................................... 6

            A.          Plaintiffs’ Requested TRO Would Not Address, and Indeed Would
                        Exacerbate, Their Claimed Harms ....................................................................................... 6

            B.          Plaintiffs’ Alleged Loss of Members and Accompanying Revenue is Highly
                        Speculative, and Might Increase from a TRO .................................................................... 8

            C.          Plaintiffs’ Vague Assertions of Reputational Injury Are Too Tenuous to
                        Support Irreparable Harm ..................................................................................................... 9

            D.          Plaintiffs Cannot Establish Article III Standing ..............................................................11

II.         PLAINTIFFS CANNOT ESTABLISH A LIKELIHOOD OF SUCCESS ON THE
            MERITS ..............................................................................................................................................12

            A.          Plaintiffs’ Claims Are Precluded By the CSRA and the FSL-MRS. ..............................12

                        1.           Congress Intended to Preclude District Court Jurisdiction..............................13

                        2.           These Claims Are of the Type Congress Intended to be Reviewed
                                     Within the Scheme ..................................................................................................15

            B.          Plaintiffs’ Have Failed To Challenge Final Agency Action Reviewable Under
                        the APA..................................................................................................................................20

            C.          Plaintiffs’ APA Challenge Concerning the Anti-Deficiency Act Lacks Merit .............21

III.        THE BALANCE OF THE EQUITIES AND PUBLIC INTEREST WEIGHS
            HEAVILY AGAINST THE IMPOSITION OF A TEMPORARY
            RESTRAINING ORDER ...............................................................................................................22

IV.         ANY INJUNCTIVE RELIEF IN THIS CASE SHOULD BE LIMITED TO THE
            PLAINTIFFS......................................................................................................................................24

CONCLUSION ...............................................................................................................................................25

                                                                                i
        Case 1:25-cv-10276-GAO                               Document 39-1                    Filed 02/06/25                 Page 3 of 31



                                                           TABLE OF AUTHORITIES

CASES

AFGE v. Sec’y of the Air Force,
 716 F.3d 633 (D.C. Cir. 2013)....................................................................................................................13

Allscripts Healthcare, LLC v. DR/Decision Resources, LLC,
  592 F. Supp. 3d 1 (D. Mass. 2022) .............................................................................................................. 5

Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump,
 929 F.3d 748 (D.C. Cir. 2019).............................................................................................................. passim

Amoco Prod. Co. v. Vill. of Gambell,
 480 U.S. 531 (1987) .....................................................................................................................................23

Axon Enter. v. FTC,
 598 U.S. 175 (2023) ............................................................................................................................... passim

Bennett v. Spears,
  520 U.S. 154 (1997) .....................................................................................................................................21

Ca. Communities Against Toxics v. EPA,
  934 F.3d 627, 640 (D.C. Cir. 2019) ...........................................................................................................21

Cherokee Nation of Oklahoma v. Leavitt,
  543 U.S. 631 (2005) .....................................................................................................................................22

Elevate Group, LLC v. DataScience.codes, LLC,
  Civ. A. No. 1:20-12084-PBS, 2021 WL 6108288 (D. Mass. Nov. 23, 2021) ........................................ 9

Elgin v. Dep’t of Treasury,
  567 U.S. 1 (2012)...................................................................................................................... 13, 14, 16, 18

Evans v. Thompson,
  518 F.3d 1 (1st Cir. 2008) ...........................................................................................................................11

Fed. L. Enf’t Officers Ass’n v. Ahuja,
  62 F.4th 551 (D.C. Cir. 2023) ............................................................................................................. 16, 17

Filebark v. DOT,
   555 F.3d 1009 (D.C. Cir. 2009)........................................................................................................... 14, 19

Food & Drug Administration v. Alliance for Hippocratic Medicine,
  602 U.S. 367 (2024) .....................................................................................................................................10

Fornaro v. James,
  416 F.3d 63 (D.C. Cir. 2005) ......................................................................................................................17


                                                                             ii
         Case 1:25-cv-10276-GAO                                Document 39-1                     Filed 02/06/25                  Page 4 of 31



Friends of Merrymeeting Bay v. U.S. Dep’t of Commerce,
  810 F. Supp. 2d 320 (D. Me. 2011) ...........................................................................................................21

FTC v. Standard Oil Co.,
  449 U.S. 232 (1980) .....................................................................................................................................21

Gonzalez-Droz v. Gonzalez-Colon,
  573 F.3d 75 (1st Cir. 2009) ........................................................................................................................... 5

Graham v. Ashcroft,
  358 F.3d 931 (D.C. Cir. 2004)............................................................................................................. 12, 19

Heckler v. Ringer,
  466 U.S. 602 (1984) .....................................................................................................................................17

Int’l Ass’n of Machinists & Aerospace Workers, AFL-CIO by Negron v. Union De Carpinteros De
   Puerto Rico,
   615 F. Supp. 3d 87 (D.P.R. 2022)................................................................................................................ 7

Jalbert v. SEC,
   327 F. Supp. 3d 287 (D. Mass. 2018) ........................................................................................................15

Jarkesy v. SEC,
   803 F.3d 9 (D.C. Cir. 2015) ................................................................................................................. 11, 12

La Simple Co., Ltd. v. SLP Enters, LLC,
  Civ. A. No. 21-10058, 2021 WL 1648762 (D. Mass. Apr. 27, 2021) ..................................................... 5

Lasure v. MSPB,
  657 F. App’x 994 (Fed. Cir. 2016) .............................................................................................................16

Lewis v. Casey,
  518 U.S. 343..................................................................................................................................................24

Lyons v. VA,
  273 F. App’x 929 (Fed. Cir. 2008) .............................................................................................................16

Madsen v. Women’s Health Ctr., Inc.,
 512 U.S. 753 (1994) .....................................................................................................................................24

Marshall v. HHS,
 587 F.3d 1310 (Fed. Cir. 2009) ..................................................................................................................16

Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak,
 567 U.S. 209 (2012) .....................................................................................................................................21

Monsanto Co. v. Gerston Seed Farms,
 561 U.S. 139 (2010) .....................................................................................................................................24


                                                                               iii
        Case 1:25-cv-10276-GAO                               Document 39-1                    Filed 02/06/25                 Page 5 of 31



N.Y. Republican State Comm. v. SEC,
  799 F.3d 1126 (D.C. Cir. 2015)..................................................................................................................11

NACM-New England, Inc. v. Nat’l Ass’n of Credit Mgmt., Inc.,
 927 F.3d 1 (1st Cir. 2019) ............................................................................................................................. 7

Nken v. Holder,
 556 U.S. 418 (2009) ................................................................................................................................ 5, 23

Parrott v. MSPB,
  519 F.3d 1328 (Fed. Cir. 2008) ........................................................................................................... 15, 16

Peoples Fed. Sav. Bank v. People’s United Bank,
  672 F.3d 1 (1st Cir. 2021) ............................................................................................................................. 5

Ross-Simons of Warwick, Inc. v. Baccarat, Inc.,
  102 F.3d 12 (1st Cir. 1996) ...................................................................................................................... 8, 9

Sackett v. EPA,
  566 U.S. 120 (2012) .....................................................................................................................................17

Safari Club Int’l v. Jewell,
  47 F. Supp. 3d 29 (D.D.C. 2014)............................................................................................................ 7, 8

Salazar v. Ramah Navajo Chapter,
  567 U.S. 182 (2012) .....................................................................................................................................22

Terban v. DOE,
  216 F.3d 1021 (Fed. Cir. 2000) ..................................................................................................................15

Thomas v. Warden, Fed. Corrections Inst., Berlin,
  596 F. Supp. 3d 331 (D.N.H. 2022) ............................................................................................................ 5

Thunder Basin Coal Co. v. Reich,
  510 U.S. 200 (1994) .....................................................................................................................................12

Town of Chester v. Laroe Estates, Inc.,
  137 S. Ct. 1645 (2017) .................................................................................................................................24

United States v. Fausto,
 484 U.S. 439 (1988) ........................................................................................................................ 12, 13, 14

Vaqueria Tres Monjitas, Inc. v. Irizarry,
 587 F.3d 464 (1st Cir. 2009) ......................................................................................................................... 9

Voice of the Arab World, Inc. v. MDTV Med. News Now, Inc.,
 645 F.3d 26 (1st Cir. 2011) ........................................................................................................................... 5



                                                                             iv
         Case 1:25-cv-10276-GAO                                Document 39-1                      Filed 02/06/25                  Page 6 of 31



Winter v. Nat. Res. Def. Counsel, Inc.,
 555 U.S. 7 (2008)............................................................................................................................. 5, 8, 9, 23

STATUTES

5 U.S.C. § 704 ...................................................................................................................................................21

5 U.S.C. § 2302 .................................................................................................................................................16

5 U.S.C. § 7103 .................................................................................................................................................19

5 U.S.C. § 7105 .................................................................................................................................................12

5 U.S.C. § 7117 .................................................................................................................................................19

5 U.S.C. § 7121 .................................................................................................................................................18

5 U.S.C. § 7123 .................................................................................................................................................12

5 U.S.C. § 7703 .......................................................................................................................................... 12, 17

31 U.S.C. §§ 1341 et seq................................................................................................................................. 2, 3

31 U.S.C. § 1341 .......................................................................................................................................... 4, 22

REGULATIONS

5 C.F.R. Part 2635.............................................................................................................................................. 4

Privacy Act of 1974, as amended: New System of Records,
  80 Fed. Reg. 72,455 (Nov. 19, 2015) .......................................................................................................... 3

Privacy Act of 1974; System of Records,
  88 Fed. Reg. 56,058 (Aug. 17, 2023) ........................................................................................................... 3

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Chief Human Capital Officers Council, Legality of Deferred Resignation Program,
  https://www.chcoc.gov/content/legality-deferred-resignation-program ....................................... 4, 5

OPM, Fork in the Road (Jan. 28, 2025),
 www.opm.gov/fork .................................................................................................................................. 2, 3, 23

OPM, Frequently Asked Questions,
 www.opm.gov/fork/faq ...................................................................................................................................... 4




                                                                                 v
     Case 1:25-cv-10276-GAO             Document 39-1         Filed 02/06/25       Page 7 of 31



                                        INTRODUCTION

       Upon his reelection to office, President Trump immediately set to work to transform the

federal work force. Among other things, he issued directives to require a return to in-person work, to

restore accountability for federal workers who have policy-making authority and to senior career

executives, and to reform the federal hiring process to focus on merit. Animating these and other

critical reforms is the recognition that the federal workforce must be streamlined to be more efficient

and to better serve the American people.

       In that vein, on January 28, 2025, the Office of Personnel Management (“OPM”), sent an

email to the federal workforce announcing a deferred resignation program whereby eligible federal

employees could voluntarily choose to resign their positions by February 6, 2025, and would,

consistent with federal law, retain all pay and benefits through September 30, 2025 and be exempt

from in-person work requirements.

       Plaintiffs, four national and local labor unions, disagree with the Administration’s policy choice

to reduce the size of the federal workforce by offering inducements to voluntary resignation and seek

the extraordinary remedy of a temporary restraining order to extend the deadline for federal employees

to accept the government’s deferred resignation program offer—an offer which expires today. That

last-minute maneuver would have remarkably disruptive and inequitable repercussions. And Plaintiffs’

motion falls far short of establishing an entitlement to a temporary restraining order bringing about

those results. Their motion should be denied.

       For starters, Plaintiffs fail to establish any harm—irreparable or otherwise—from allowing the

acceptance deadline for the election of deferred resignation to expire today. None of the harms raised

by Plaintiffs are legally cognizable. But more fundamental, all of the key harms Plaintiffs allege from

the deadline—the expenditure of resources to counsel union members as to whether to accept the

offer and the loss of dues from paying members who do accept—would presumably only be exacerbated


                                                   1
      Case 1:25-cv-10276-GAO               Document 39-1       Filed 02/06/25      Page 8 of 31



if that deadline were extended and the Plaintiffs’ members had even more time to accept the offer.

Simply put, on their own account, Plaintiffs’ requested temporary restraining order would make matters

worse; it would not offer any remedy to the injuries Plaintiffs assert.

        Moreover, Plaintiffs fail to establish a likelihood of success for numerous reasons. First,

Plaintiffs’ alleged diversion of resources from the announced deferred resignation program fails to

establish Article III standing as a matter of law—as the Supreme Court expressly held, rejecting an

identical theory of harm pressed just last Term. Second, Plaintiffs’ claims are foreclosed by the

comprehensive remedial scheme enacted by Congress in the Civil Service Reform Act of 1978

(“CSRA”), including the portions of the CSRA that specifically govern federal labor relations, the

Federal Service Labor-Management Relations Statute (“FSL-MRS”). Third, Plaintiffs’ Administrative

Procedure Act (“APA”) claim fails at the outset because the deferred resignation program does not

constitute final agency action—it is a matter of pure internal governmental administration and, in all

events, imposes no legal right or obligation on anyone, let alone Plaintiffs. Fourth, Plaintiffs’ APA

claim that the deferred resignation program violates the Anti-Deficiency Act, 31 U.S.C. 1341, et seq.,

is misplaced, as the offers were made in accordance with applicable law, including the availability of

funds appropriated by Congress.

        In addition, Plaintiffs seek a disfavored mandatory injunction that would disrupt—rather than

preserve—the status quo. And the balance of the equities tips sharply in OPM’s favor. Extending the

deadline for the acceptance of deferred resignation on its very last day will markedly disrupt the

expectations of the federal workforce, inject tremendous uncertainty into a program that scores of

federal employees have already availed themselves of, and hinder the Administration’s efforts to

reform the federal workforce. Those serious repercussions only underscore the import of holding

Plaintiffs to their high burdens on the other prongs at issue; and confirm that their last-minute request

for extraordinary relief cannot succeed.


                                                    2
         Case 1:25-cv-10276-GAO          Document 39-1        Filed 02/06/25       Page 9 of 31



          At bottom, Plaintiffs fail to establish any of the requirements entitling them to a temporary

restraining order, and Plaintiffs’ motion should be denied.

    I.     FACTUAL AND LEGAL BACKGROUND

           A. OPM’s Voluntary Resignation Program

           On January 28, 2025, OPM sent an email to federal employees informing them of a “deferred

resignation program.” www.opm.gov/fork. The email explained that President Trump issued several

directives during the first week of his administration, including requiring that federal employees return

to in-person work, restoring accountability for employees who have policy-making authority, restoring

accountability for senior career executives, and reforming the federal hiring process to focus on merit.

Id. The email explained that if federal employees choose to remain in their current positions, their

service was appreciated but that “we cannot give you full assurance regarding the certainty of your

position or agency but should your position be eliminated you will be treated with dignity and will be

afforded the protections in place for such positions.” Id. The email further announced a deferred

resignation program, effective January 28, that would be available to most federal employees1 until

February 6, 2025. Id. Under this program, employees who resign “will retain all pay and benefits

regardless of your daily workload and will be exempted from all applicable in-person work

requirements until September 30, 2025 (or earlier if you choose to accelerate your resignation for any

reason.” Id. The email explained that to take advantage of the program, an employee needed to

respond to the email from their work computer with the word “Resign” in the body of the reply email.

Id. The email included a deferred resignation letter, which, among other things, explained that OPM

was authorized to send the email under “Executive Order 9830 and 5 U.S.C. §§ 301, 1103, 1104, 2951,



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 The email explained that the voluntary resignation program was not available for military personnel,
employees of the Postal Service, and those in positions related to immigration enforcement and
national security, and those in any other positions specifically excluded by the employee’s employing
agency.

                                                    3
     Case 1:25-cv-10276-GAO             Document 39-1         Filed 02/06/25      Page 10 of 31



3301, 6504, 8347, and 8461,” and further explained that OPM intended to use the responses to the

email “to assist in workforce reorganization efforts in conjunction with employing agencies.” Id. (citing

88 Fed. Reg. 56058; 80 Fed. Reg. 72455). Finally, the email noted that a response to the email was

voluntary. Id.

         In the days following OPM’s January 28, 2025 email to the federal workforce, OPM provided

a list of Frequently Asked Questions (“FAQs”) concerning the deferred resignation program.

www.opm.gov/fork/faq. Among other things, the FAQs explained that for those who are eligible for the

deferred resignation program and accept, the employing agency could execute paperwork reflecting

all the terms of the agreement. Id. The FAQs further explained that any government shutdown could

potentially affect an employee’s pay regardless of whether the employee accepted the deferred

resignation letter, but that employees who accepted the deferred resignation offer would still be

entitled to the backpay available under the Government Employee Fair Treatment Act of 2019. Id.

(citing 31 U.S.C. 1341(c)(2)).

         On February 4, 2025, OPM provided a memorandum to all heads and acting heads of

Departments and agencies regarding the legality of the deferred resignation program. Legality of

Deferred    Resignation    Program,    https://www.chcoc.gov/content/legality-deferred-resignation-

program. The February 4 memorandum explained “why concerns regarding the program’s legality are

misplaced and offers clarifying guidance on certain aspects of the plan.” Id.

         Among other things, the February 4 memorandum explained that Congressional approval of

the deferred resignation program was unnecessary because employees would remain in duty status and

entitled to their regular pay and benefits. Id. The memorandum further explained that the program

does not promise employees any additional compensation that might require special congressional

appropriations. Id.

         The February 4 memorandum also clarified that although employees who take advantage of


                                                   4
      Case 1:25-cv-10276-GAO               Document 39-1          Filed 02/06/25         Page 11 of 31



the deferred resignation program may pursue a second job outside the federal government, employees

had to comply with the Standards of Ethical Conduct for Employees of the Executive Branch at 5

C.F.R. Part 2635 and other applicable federal laws, as well as any agency-specific regulations. Id.

Finally, the February 4 memorandum included as an appendix a template deferred resignation

agreement that could be used by agencies. Id.

          B.     Standards for Emergency Relief

          A temporary restraining order, like a preliminary injunction, “is an extraordinary and drastic

remedy that is never awarded as of right.” Peoples Fed. Sav. Bank v. People’s United Bank, 672 F.3d 1, 8-9

(1st Cir. 2021). A movant may be awarded such an extraordinary remedy only “upon a clear showing”

that it is “entitled to such relief.” Winter v. Nat. Res. Def. Counsel, Inc., 555 U.S. 7, 22 (2008). To establish

entitlement, Plaintiffs bear the burden of establishing (1) a likelihood of success on the merits, (2)

irreparable harm in the absence of preliminary relief, (3) the balance of the equities favor the movant,

and (4) an injunction is in the public interest. Allscripts Healthcare, LLC v. DR/Decision Resources, LLC,

592 F. Supp. 3d 1 (D. Mass. 2022). The last two factors “merge when the Government is the party

opposing the preliminary injunction.” Nken v. Holder, 556 U.S. 418, 435 (2009). Irreparable harm

“constitutes a necessary threshold showing for an award of preliminary injunctive relief,” Gonzalez-

Droz v. Gonzalez-Colon, 573 F.3d 75, 79 (1st Cir. 2009), and is “the basis for injunctive relief.” Voice of

the Arab World, Inc. v. MDTV Med. News Now, Inc., 645 F.3d 26, 32 (1st Cir. 2011)). In addition, where,

as here, Plaintiffs seek to alter the status quo through a disfavored mandatory injunction, the “moving

party must make an even stronger showing of entitlement to relief than is typically required.” Thomas

v. Warden, Fed. Corrections Inst., Berlin, 596 F. Supp. 3d 331, 336-37 (D.N.H. 2022) (quoting La Simple

Co., Ltd. v. SLP Enters, LLC, 2021 U.S. Dist. LEXIS 81209 at *10-*11, 2021 WL 1648762, at *4 (D.

Mass. Apr. 27, 2021) (quotation omitted)).

II.       Procedural History


                                                       5
      Case 1:25-cv-10276-GAO            Document 39-1         Filed 02/06/25       Page 12 of 31



         Plaintiffs filed this suit on February 4, 2025, raising two claims under the Administrative

Procedure Act (“APA”). ECF No. 1. Plaintiffs moved for a temporary restraining order on February

5, 2025. ECF No. 12. That same day, the Court scheduled a hearing on Plaintiffs’ motion for a

temporary restraining order for February 6, 2025. ECF No. 28.

                                            ARGUMENT

 I.      Plaintiffs Cannot Establish Irreparable Harm or Article III Standing

         Plaintiffs claim they will be irreparably harmed absent a stay of OPM’s February 6 deadline

for three reasons: first, they will suffer a diversion of resources; second, they will lose members and

resulting revenue; and third, they will suffer reputational harm. Mot. at 16–19. None of those reasons

establishes irreparable harm sufficient to entitle them to the extraordinary remedy of a temporary

restraining order. Indeed, for similar reasons, Plaintiffs even cannot establish Article III standing.

      A. Plaintiffs’ Requested TRO Would Not Address, and Indeed Would Exacerbate,
         Their Claimed Harms

         Plaintiffs first assert that due to OPM’s January 28 email offering the voluntary resignation

program, they have been “inundated with varied inquiries from their members about the Directive’s

validity, legality, interaction with other federal requirements, changing nature, and the possible

implications of responding to the directive’s ultimatums.” Mot. at 17. These inquires, they contend,

impose some unidentified economic costs on Plaintiffs that will not be recoverable, and impose a

burden on their existing work and the ability to carry out their core institutional missions. Id.

         As an initial matter, it is unclear why Plaintiffs are requesting a TRO extending a deferred

resignation program they claim is unlawful. As explained below, Plaintiffs’ claims are baseless, but

even if otherwise, the appropriate remedy would be a cessation of the program, not its forced

continuance. But even Plaintiffs do not claim that this Court can or should halt the program entirely—

they seek its extension, a form of redress that is entirely inconsistent with their fundamental complaint.



                                                    6
     Case 1:25-cv-10276-GAO               Document 39-1          Filed 02/06/25       Page 13 of 31



        Plaintiffs’ arguments are at war with themselves. On the one hand, Plaintiffs’ temporary

restraining order seeks only a stay of the February 6 deadline for accepting voluntary resignations,

rather than the voluntary resignation offers themselves. Id. at 20 (“Plaintiffs respectfully request that

the Court enter a Temporary Restraining Order directing Defendants to pause the February 6th

deadline for acceptance of the Directive[.]”). But a stay of that deadline would not address Plaintiffs’

alleged harm, as presumably they will continue to receive inquiries from their members about the

voluntary resignation program, and presumably they will continue to respond. Indeed, if anything,

staying the acceptance date for the voluntary resignation program would exacerbate Plaintiffs’ claimed

harm, as, under their theory, their expenditure of resources in response to inquiries will only increase.

But such self-inflicted injuries cannot constitute irreparable harm. See San Francisco Real Est. Invs. v. Real

Est. Inv. Tr. of Am., 692 F.2d 814, 818 (1st Cir. 1982) (Breyer, J.) (“Under these circumstances, any

‘harm’ caused . . . would seem largely self-inflicted; it was not only not irreparable in the absence of [a

temporary restraining] order.”); Safari Club Int’l v. Jewell, 47 F. Supp. 3d 29, 35–36 (D.D.C. 2014). 2 For

this reason alone, Plaintiffs’ claimed irreparable harm should be rejected. 3

     B. Plaintiffs’ Alleged Loss of Members and Accompanying Revenue is Highly
        Speculative, and Might Increase from a TRO

        Next, Plaintiffs assert that they face irreparable harm from an anticipated “significant loss of

members,” see NACM-New England, Inc. v. Nat’l Ass’n of Credit Mgmt., Inc., 927 F.3d 1, 6 (1st Cir. 2019),


2
  Because Plaintiffs’ entire theory of injury is the resources expended to respond to inquiries from
union members regarding the deferred resignation program, even a viable claim would be moot after
the February 6 deadline to accept the deferred resignation offer. But Plaintiffs cannot seek injunctive
relief to extend the deadline to accept the deferred resignation offer in an attempt to maintain an
otherwise moot claim.
3
  Plaintiffs’ contention that “labor unions suffer irreparable harm where the challenged action would
leave them ‘unable to protect the rights of [their] members in their relationship with their employer,”
is beside the point. Mot. at 18 (quoting Int’l Ass’n of Machinists & Aerospace Workers, AFL-CIO by Negron
v. Union De Carpinteros De Puerto Rico, 615 F. Supp. 3d 87, 95 (D.P.R. 2022)). Plaintiffs fail to establish
that the February 6 deadline to accept a voluntary resignation prevents them from protecting the rights
of their members.

                                                      7
     Case 1:25-cv-10276-GAO            Document 39-1         Filed 02/06/25       Page 14 of 31



who may “resign in large numbers as a result of the” deferred resignation program, Mot. at 18.

Moreover, Plaintiffs allege that they will “likely lose revenue” because some dues-paying members

may leave federal service early under the program. Compl. ¶ 138.

        But this does not work. To start, a loss of membership from the free choices of individual

members is not a cognizable harm. “It is not enough for plaintiffs to simply identify a governmental

action that ultimately affected them through the independent responses and choices of third parties.”

City of New York v. DOD, 913 F.3d 423, 431 (4th Cir. 2019) (Wilkinson, J.). Unions have no preexisting

legal entitlement to members choosing to stay in their ranks; and when they choose to leave, that is

not a redressable legal harm.

        Anyway, this theory is entirely speculative, and amounts to little more than an allegation that

“[i]t is likely,” Mot. at 18, that some members will leave federal service who might otherwise stay,

potentially reducing Plaintiffs’ revenue. That falls far short of the “significant loss of members” at

issue in NACM-New England, where there was evidence that the plaintiff might go out of business due

to the loss of members to a competitor. 927 F.3d at 6 (affirming district court finding of irreparable

harm where “significant loss of members, . . . about 20%, could cause [plaintiff] to become insolvent”

(citation omitted)). And there the loss of membership was not the product of voluntary, independent

action, but instead a plant closure—not even one removed. Here, by contrast, the program turns

entirely on the speculative free choices of individual employees asserting their own interests.

        Moreover, as with Plaintiffs’ burden argument, Mot. at 17, there is every reason to think that

Plaintiffs’ requested relief may increase the number of members who ultimately seek to pursue the

deferred resignation program—although we ultimately do not know. See Mot. at 20 (requesting the

February 6, 2025 deadline be paused). Pausing the February 6 deadline would not stop Plaintiffs’

members from accepting the deferred resignation program offer. It would simply provide additional

time for more individuals, including Plaintiffs’ members, to consider and accept the deferred


                                                   8
     Case 1:25-cv-10276-GAO               Document 39-1          Filed 02/06/25        Page 15 of 31



resignation program offer than would have under the original February 6 deadline. This falls far short

of the required “clear” showing of irreparable harm, Winter, 555 U.S. at 22, and again appears to ask

the Court for a self-inflicted injury. See Safari Club, 47 F. Supp. 3d at 35–36.

        Finally, if Plaintiffs are concerned about members departing their rolls and taking their fees

with them after September 30, 2025, there is more than enough time to shed light on those concerns

through ordinary litigation prior to that date without the need for the kind of extraordinary injunctive

relief Plaintiffs seek in their Motion.

     C. Plaintiffs’ Vague Assertions of Reputational Injury Are Too Tenuous to Support
        Irreparable Harm

        Finally, Plaintiffs assert that they “are at risk of reputational harm among their membership,

and more broadly among other federal employees, due to the difficulty of providing satisfactory

answers to members concerning an agency policy with enormous potential consequences for

members’ interests.” Compl. ¶ 139. As above, extending the deadline would exacerbate this harm, not

address it. This allegation plainly does not suffice for at least three additional reasons. First, this alleged

reputational injury is both speculative and vague, and thus cannot meet the “clear” showing required

to carry Plaintiffs’ burden for irreparable harm. See Winter, 555 U.S. at 22 (“Issuing a preliminary

injunction based only on a possibility of irreparable harm is inconsistent with our characterization of

injunctive relief as an extraordinary remedy that may only be awarded upon a clear showing that the

plaintiff is entitled to such relief.”). Reputational harm can be difficult to measure, Ross-Simons of

Warwick, Inc. v. Baccarat, Inc., 102 F.3d 12, 20 (1st Cir. 1996), but Plaintiffs do not even attempt to

connect the dots between their demanded injunctive relief and any alleged injury to their reputations,

and this Court should decline to fill in the gaps for them. See Winter, 555 U.S. at 22; cf. Elevate Group,

LLC v. DataScience.codes, LLC, Civil Action No. 1:20-12084-PBS, 2021 WL 6108288, at *5 (D. Mass.

November 23, 2021) (“[i]t does not follow . . . that a party is exempted from providing evidence of

harm to goodwill simply because it ‘has not put a specific number on the loss of goodwill’” (citation

                                                      9
      Case 1:25-cv-10276-GAO             Document 39-1         Filed 02/06/25        Page 16 of 31



omitted)).

        Further, Plaintiffs’ allegations of reputational harm fall far short of the standard established in

relevant caselaw. In Vaqueria Tres Monjitas, Inc. v. Irizarry, the reputational injury at issue was the

goodwill lost by Puerto Rican milk producers forced to prop up a competitor while losing market

share due to an anticompetitive subsidy. See 587 F.3d 464, 485 (1st Cir. 2009). That grave reputational

harm is a far cry from Plaintiffs’ vague assertion that their members and other federal employees will

think less of them for not having all the answers about the deferred resignation program. See Compl.

¶ 139; Mot. at 19. To show irreparable harm from reputational injury, a plaintiff must make a more

specific showing of injury than anything found in these allegations. See, e.g., Ross-Simons of Warwick.,

102 F.3d at 19–20 (holding reputational harm to bridal registry company irreparable when barred from

selling luxury crystal brand that was already depicted for sale in catalogues in circulation among

potential customers and “it could never be shown” later what the loss in goodwill and sales would

amount to) (collecting cases). Meanwhile, Plaintiffs offer “a tenuous or overly speculative forecast of

anticipated harm,” id. at 19, which could ultimately be ascertained at a later date if any such loss exists.

        Finally, if courts were to recognize as irreparable harm a reputational injury based on an entity’s

inability to “provid[e] satisfactory answers to members concerning agency policy,” Compl. ¶ 139, then

any trade association, attorney, or regulatory advisory organization could meet the irreparable harm

showing for injunctive relief any time an agency took a novel or complex action. This would turn an

“extraordinary remedy,” Winter, 555 U.S. at 22, into a routine and absurd one. That cannot be right.

 D.      Plaintiffs Cannot Establish Article III Standing

        Plaintiffs dedicate a single footnote in their motion to their standing to sue. See Mot. at 16 n.6.

Plaintiffs contend that “OPM’s unreasoned guidance, proffered without explanation or authority,

likewise impairs [their] ability to provide counseling and guidance for their constituents.” Id. This

standing theory is squarely foreclosed by the Supreme Court’s recent decision in Food & Drug


                                                    10
       Case 1:25-cv-10276-GAO            Document 39-1           Filed 02/06/25    Page 17 of 31



Administration v. Alliance for Hippocratic Medicine, 602 U.S. 367 (2024).

         In Hippocratic Medicine, the Court rejected the argument by various medical associations that

they had standing by claiming that the FDA had “impaired” their “ability to provide services and

achieve their organizational mission” by approving the abortion-inducing drug mifepristone. Id. at 394

(citation omitted). The plaintiffs claimed that they incurred costs due to the FDA’s actions, including

a need to perform their own studies on mifepristone to better inform their members and the public

about the drug’s risks. Id. The plaintiffs further claimed that they had to spend “time, energy, and

resources” drafting citizen petitions to FDA and engaging in public advocacy and public education.

Id. This, the plaintiffs alleged, resulted in them spending “considerable resources” to the detriment of

other spending. Id. The Court rejected this capacious standing theory and explained that, if accepted,

it would mean that “all the organizations in America would have standing to challenge almost every

federal policy that they dislike, provided they spend a single dollar opposing those polices.” Id. at 395.

        This broad theory of standing rejected by the Supreme Court is precisely what Plaintiffs allege

here. Plaintiffs contend that since the voluntary resignation program was announced they have been

“inundated with varied inquiries from their members about” the program, and that this has caused a

“diversion of resources” resulting in burdens to their existing work. Mot. at 17. But this sort of

“impairment” of their ability to provide services to their union members and the claimed expenditure

of time, without more, is insufficient as a matter of law to establish Article III standing. As the

Supreme Court put it: An “organization” does not satisfy Article III when it simply “diverts its

resources in response to a defendant’s actions.” 602 U.S. at 395. But that is precisely what Plaintiffs

allege, and they make no effort to explain why that restriction does not apply here. On this ground

alone, Plaintiffs’ motion for a temporary restraining order should be denied.

 II.     PLAINTIFFS CANNOT ESTABLISH A LIKELIHOOD OF SUCCESS ON THE
         MERITS



                                                     11
     Case 1:25-cv-10276-GAO             Document 39-1          Filed 02/06/25       Page 18 of 31



     A. Plaintiffs’ Claims Are Precluded by the CSRA and the FSL-MRS.

        Even moving past the Article III standing issues, Plaintiffs cannot show subject-matter

jurisdiction because Congress has divested the federal district courts of jurisdiction over federal

employment matters like this one. See Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump (“AFGE”), 929

F.3d 748, 752 (D.C. Cir. 2019) (ordering a jurisdictional dismissal of a federal-employee-union suit

because of the comprehensive statutory scheme governing federal employment review, the FSL-MRS).

The legal basis for this divestiture is both well-settled and constitutionally significant. “While the

authority of the federal courts comes from Article III of the Constitution, the existence of the lower

federal courts, including this court, and the extent of [its] jurisdiction depend entirely on statutory

grants from Congress.” Evans v. Thompson, 518 F.3d 1, 5 (1st Cir. 2008). Thus, “Congress has great

leeway to expand or restrict the jurisdiction of the lower federal courts.” Id. at 6.

        Congress has broadly empowered the judiciary to hear “claims ‘arising under’ federal law” “by

way of 28 U.S.C. § 1331’s grant of jurisdiction.” Axon Enter. v. FTC, 598 U.S. 175, 185 (2023).

Nonetheless, “[a] special statutory review scheme, . . . may preclude district courts from exercising

jurisdiction over challenges to federal agency action.” Id. Thus, when a statute sets out “a particular

procedure and time period” for challenging agency actions, a plaintiff may be precluded from relying

on a district court suit. See N.Y. Republican State Comm. v. SEC, 799 F.3d 1126, 1135–36 (D.C. Cir.

2015). That includes arbitrary and capricious challenges under the APA. AFGE, 929 F.3d at 756 (D.C.

Cir. 2019).

        Congress can preclude district court review two different ways. The first is explicitly. Axon,

598 U.S. at 185 (“[P]roviding in so many words that district court jurisdiction will yield.”). The second,

applicable here, is implicitly. In cases of implicit preclusion, Congress impliedly divests district courts

of jurisdiction “by specifying a different method to resolve claims about agency action.” Axon, 598

U.S. at 185. To resolve an implicit preclusion question, the Court must determine whether “(i) such


                                                    12
     Case 1:25-cv-10276-GAO               Document 39-1           Filed 02/06/25        Page 19 of 31



intent is ‘fairly discernible in the statutory scheme,’ and (ii) the litigant’s claims are ‘of the type Congress

intended to be reviewed within [the] statutory structure.’” Jarkesy v. SEC, 803 F.3d 9, 15 (D.C. Cir.

2015) (quoting Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207, 212 (1994)). These can be considered

the two steps of a Thunder Basin analysis of implied preclusion.

            1. Congress Intended to Preclude District Court Jurisdiction

        The first step, Congress’s intent to preclude, is well satisfied here: Congress established a

detailed statutory scheme for adjudicating disputes relating to federal employment. Taken as a whole,

it is “an integrated scheme of administrative and judicial review, designed to balance the legitimate

interests of the various categories of federal employees with the needs of sound and efficient

administration.” United States v. Fausto, 484 U.S. 439, 445 (1988). That scheme satisfies the first step

for discerning implied preclusion.

        The FSL-MRS and CSRA, of which the FSL-MRS is a part, together provide for

“administrative and judicial review” regarding disputes between employees and their federal employers

and disputes between unions representing those employees and the federal government. AFGE, 929

F.3d at 752 (discussing the FSL-MRS); see Graham v. Ashcroft, 358 F.3d 931, 933 (D.C. Cir. 2004)

(discussing the CSRA more broadly). Congress decided, through these statutes, that most federal labor

and employment disputes must first be administratively exhausted before the employing agency and

the applicable administrative review board—either the Merit Systems Protection Board (“MSPB”) for

employment disputes or the Federal Labor Relations Authority (“FLRA”) for labor disputes. Judicial

review, if any, is available only in a court of appeals. See AFGE, 929 F.3d at 752 (citing 5 U.S.C. §§

7105, 7123(a), (c)); Graham, 358 F.3d at 934 (citing Fausto, 484 U.S. at 448–50); see also 5 U.S.C. §

7703(b) (providing for judicial review in the Federal Circuit or other court of appeals).

        “Congress typically chooses . . . review in a court of appeals following the agency’s own review

process” when designing an implicit preclusion scheme. Axon, 598 U.S. at 185. That is exactly what


                                                      13
     Case 1:25-cv-10276-GAO              Document 39-1          Filed 02/06/25       Page 20 of 31



this scheme includes. Accordingly, as the D.C. Circuit has repeatedly recognized, the CSRA precludes

jurisdiction in the district courts over federal employee and federal union disputes. See AFGE, 929

F.3d at 754. This “enormously complicated and subtle scheme to govern employee relations in the

federal sector” does not permit a district court runaround. See id. at 755 (quoting AFGE v. Sec’y of the

Air Force (“Air Force”), 716 F.3d 633, 636 (D.C. Cir. 2013)).

        Plaintiffs’ argument to the contrary runs squarely into the Supreme Court’s pronouncements

on the CSRA’s preclusive effect. When the Court applied the Thunder Basin inquiry directly to the

CSRA, it held that the scheme “forecloses judicial review” for employees “to whom the CSRA grants

administrative and judicial review.” Elgin v. Dep’t of Treasury, 567 U.S. 1, 11 (2012).

        Plaintiffs impliedly respond to that point in their memorandum. They assert that “review in

the [MSPB] is not available to Plaintiffs” and “[FLRA] review is not available to Plaintiffs.” Mot. at

14. Therefore, in Plaintiffs’ view, Congress must not have expressed an intent to preclude. Bracketing

whether Plaintiffs are correct on that assertion, which Defendants address below, Congress’s choice

to exclude Plaintiffs from the review scheme would itself be indicative of an intent to preclude district

court review altogether.

        The Supreme Court has thoroughly rebuked any theory that exclusion of a matter from a

comprehensive review scheme means Congress did not intend to create a set of preclusive statutes. In

another case examining preclusion under the CSRA, the Court explained that the scheme’s “deliberate

exclusion of [a group] from the provisions establishing administrative and judicial review for personnel

action of the sort at issue [] prevents [the group] from seeking review.” Fausto, 484 U.S. at 455. Thus,

even the exclusion of a subject matter, or group, from the scheme should suffice for Congressional

intent of preclusion. Later, in the Thunder Basin context, the Court applied this prior holding. It

explained that “the CSRA’s ‘elaborate’ framework demonstrates Congress’ intent to entirely foreclose

judicial review to employees to whom the CSRA denies statutory review.” Elgin, 567 U.S. at 11


                                                    14
       Case 1:25-cv-10276-GAO            Document 39-1         Filed 02/06/25        Page 21 of 31



(quoting Fausto, 484 U.S. at 443). Thus, if it is true that the CSRA excludes administrative review

options for Plaintiffs, it supports, rather than detracts from, evidence of Congress’s intent to preclude.

        Indeed, given the abundant precedent on this issue, a CSRA-related challenge rarely focuses

on this first step. See AFGE, 929 F.3d at 755. Through the scheme Congress intended the CSRA to

foreclose judicial review in the mine run of circumstances. “[T]his comprehensive employment

scheme preempts judicial review under the more general APA even when that scheme provides no

judicial relief—that is, what you get under the CSRA is what you get.” Filebark v. DOT, 555 F.3d 1009,

1010 (D.C. Cir. 2009) (Talel, J.) (internal quotation marks and citation omitted). That suffices to satisfy

the first Thunder Basin step.

        It is the second Thunder Basin step, whether the particular claims in a suit are of the type

Congress intended to be reviewed in this scheme, that ultimately matters. That is, “Congress’s creation

of a ‘comprehensive review process’ like th[is] one[] here ousted district courts of jurisdiction.” See

Axon, 598 U.S. at 186. So this Court must “ask[] another question: whether the particular claims

brought were of the type Congress intended to be reviewed within this statutory structure.” Id.

(internal quotation marks and citation omitted). As explained below, the answer to that question is

yes.

            2. These Claims Are of the Type Congress Intended to be Reviewed Within the
               Scheme

        To determine whether Congress’s preclusion scheme reaches the claims in this case, the Court

must consider “three considerations designed to aid in that inquiry, commonly known now as the

Thunder Basin factors.” Id. The factors are: (1) “could precluding district court jurisdiction foreclose all

meaningful judicial review of the claim”; (2) “is the claim wholly collateral to the statute’s review

provisions”; and (3) “is the claim outside the agency’s expertise?” Id. (internal quotation marks,

citation, and alteration omitted). These “considerations” are ultimately merely guideposts to “best []

understand what Congress has done—whether the statutory review scheme, though exclusive where

                                                    15
     Case 1:25-cv-10276-GAO              Document 39-1         Filed 02/06/25       Page 22 of 31



it applies, reaches the claim in question.” Id. And it is critical to remember that a plaintiff may not

“repackage[]” its claim “under the heading of an APA claim” to “exempt it from the exclusive

channeling regime Congress prescribed.” Jalbert v. SEC, 327 F. Supp. 3d 287, 299 (D. Mass. 2018). It

is the content of the claim that matters—not the manner in which a plaintiff attempts to raise it.

        Plaintiffs bring two claims. First, they assert an arbitrary and capricious claim—alleging a

combination of conflicting information and threats, Compl. ¶¶ 145–47, 149, conflict with rules and

guidance, Compl. ¶ 148, failure to consider ¶¶ 144, 146, and political animus, Compl. ¶ 150. Second,

they assert an excess of statutory authority argument for appropriations. Compl. ¶¶ 152–58. Both are

precluded under the Thunder Basin factors.

        First, the scheme provides for meaningful judicial review of these areas. This is so even if the

statutory scheme Congress has established does not allow the unions “to obtain ‘pre-implementation’

review” “or immediate relief barring all agencies from implementing” the deferred resignations. See

AFGE, 929 F.3d at 755. Indeed, meaningful judicial review is still available for purposes of this prong

even if the statutory scheme “ma[kes] it impossible to obtain particular forms of review or relief.” Id. at

756. Here, as in AFGE itself, certain parties can bring certain claims through the administrative

process “in the context of concrete . . . disputes.” Id. at 757.

        Start with the allegations about conflicting information and threats. If an employee believes

that he resigned under coercion or misrepresentation, he may utilize the statutory scheme to challenge

his departure. See Terban v. DOE, 216 F.3d 1021, 1024 (Fed. Cir. 2000) (explaining the scope of MSPB

and judicial review of involuntary retirement). For example, in the context of MSPB review, the

Federal Circuit has considered whether “a short time period within which to accept” an “attractive

[resignation] option” sufficed to make a resignation involuntary. Parrott v. MSPB, 519 F.3d 1328, 1334–




                                                    16
     Case 1:25-cv-10276-GAO             Document 39-1         Filed 02/06/25       Page 23 of 31



35 (Fed. Cir. 2008). In concrete cases, then, an employee may very well challenge the aspects of

deferred resignations of which Plaintiffs complain. 4

        Similarly, if an employee thinks that the resignation was accomplished in conflict with some

extant federal rule, guidance, or statute, he may assert that within the administrative scheme. See, e.g.,

Marshall v. HHS, 587 F.3d 1310, 1318 (Fed. Cir. 2009) (reversing based on an erroneous statutory

interpretation); Lyons v. VA, 273 F. App’x 929, 931 (Fed. Cir. 2008) (considering whether a regulation

was violated); Fed. L. Enf’t Officers Ass’n v. Ahuja (“FLEOA”), 62 F.4th 551, 560 (D.C. Cir. 2023)

(noting challenges to OPM guidance through the MSPB system). An allegation that the deferred

resignation program was based in political animus may be appropriately channeled through a

complaint to the Office of Special Counsel (“OSC”). 5 U.S.C. § 2302(a)(2)(A)(iii), (ix), (xii) (covering

“a decision concerning pay . . . or awards,” and “other significant change[s] in duties, responsibilities,

or working conditions”). The OSC can hear complaints about “discriminat[ion] for or against any

employee or applicant for employment—on the basis of . . . political affiliation, as prohibited under

any law, rule, or regulation.” See id. § 2302(b)(1)(E). These claims could, at times, make their way

through the MSPB. See, e.g., Lasure v. MSPB, 657 F. App’x 994, 995 (Fed. Cir. 2016) (considering claim

of prohibited animus under Section 2302(b) for a union-member federal employee). Challenges to the

lawfulness of an appropriation may also be available. See Elgin, 567 U.S. at 16–17 (“That issue, . . .

could be meaningfully addressed in the Court of Appeals that Congress had authorized to conduct

judicial review.” (internal quotation marks omitted)). Any remaining claims should fall within the

Federal Circuit’s authority to “review the record and hold unlawful and set aside any agency action,

findings, or conclusions” that are “obtained without procedures required by law, rule, or regulation

having been followed” or that are “arbitrary, capricious, an abuse of discretion, or otherwise not in


        4
           The well-settled rules permitting review of whether a resignation is voluntary puts to rest
Plaintiffs’ assertion that no MSPB review would be available for resignations, including “one that
offered benefits.” See Parrott, 519 F.3d at 1335.

                                                   17
     Case 1:25-cv-10276-GAO             Document 39-1         Filed 02/06/25       Page 24 of 31



accordance with law;” so long as the challenge properly flows through the administrative regime. 5

U.S.C. § 7703(c)(1), (2).

        These example pathways demonstrate that Congress understood there to be certain methods,

for certain parties, to obtain certain relief under these circumstances. The certain parties are those

individual federal employees who have chosen to resign based on the option provided to them. As

Plaintiffs put it, the deferred resignation “purports to offer a benefit to employees, or an invitation to

employees to make their own decision.” Mot. at 14. That is exactly right.

        The fact that a separate group, the federal unions, may not be included in these pathways for

this particular subject matter is no issue. “Where a statute provides that particular agency action is

reviewable at the instance of one party, who must first exhaust administrative remedies, the inference

that it is not reviewable at the instance of other parties, who are not subject to the administrative

process, is strong.” Sackett v. EPA, 566 U.S. 120, 130 (2012). Indeed, “[w]ere [the Court] to hold

otherwise, a union [employee] could circumvent the CSRA’s strictures by requesting that a [federal]

union file general APA claims outside the CSRA on [his] behalf.” See AFGE, 929 F.3d at 639. And it

would be natural for Congress to preclude those not receiving a benefit—indeed those unions who

may be opposed for their own reasons to a federal employee choosing to resign—from filing a separate

attack on that agreed resignation. That is particularly true for a “‘pre-implementation’ review” seeking

to preclude all federal employees from receiving and finalizing a desired benefit. See AFGE, 929 F.3d

at 755. And “[n]othing about the fact that plaintiffs’ action is a systemic challenge to OPM policy

mitigates” this preclusion. Fornaro v. James, 416 F.3d 63, 69 (D.C. Cir. 2005) (Roberts, J.) (holding an

APA challenge asserted against an OPM policy precluded).

        Second, the asserted claims are not wholly collateral. The Court must “examine whether the

action ‘at bottom’ seeks a substantive determination that falls within the statutory regime’s exclusive

scope.” FLEOA, 62 F.4th at 563 (D.C. Cir. 2023) (quoting Heckler v. Ringer, 466 U.S. 602, 615 (1984)).


                                                   18
     Case 1:25-cv-10276-GAO             Document 39-1         Filed 02/06/25       Page 25 of 31



As the Supreme Court recently explained, a claim may be sufficiently collateral when the “claims do

not relate to the subject of the [administrative] actions.” Axon, 598 U.S. at 193. There, the Court noted

that “separation-of-powers claims” brought against the administrative agency were entirely unrelated

to the “auditing practices,” and “business merger” that constituted the subject matter of the agency

actions. See id. Nor were they related to the “procedural or evidentiary matters an agency often resolves

on its way to a merits decision.” Id.

        No such separation exists here. The claims challenge issues like the effect of alleged coercive

resignations, illegality, animus, and related questions on the timing and quality of an employee’s choice

to resign. But those are all the kinds of federal employment issues that lie at the heart of the CSRA.

        Third, and for similar reasons, the agency may bring its expertise to bear on many of the

questions raised. Indeed, Elgin directly addresses the point. As the Court noted: “preliminary questions

unique to the employment context” include fact questions about a “resignation” (there whether it

“amounted to a constructive discharge”) as well as “statutory or constitutional claims that the MSPB

routinely considers.” See Elgin, 567 U.S. at 22–23. Even if some of the claims could move beyond the

administrative expertise of the agency these “threshold questions” may “alleviate [the other]

concerns.” See id.

                                                  ***

        So all the guideposts indicate Congress’s intent to preclude these kinds of claims from district

court review. Instead, they are channeled through the CSRA or the FSL-MRS.

        If the Court has any lingering questions because these Plaintiffs may be unable to challenge

these particular claims in this type of way, it should be unbothered. Congress provided federal unions

a particular method to raise issues under the FSL-MRS. As they note, Mot. at 14–15 & n.5, Plaintiffs

may seek to file a grievance under preexisting collective bargaining agreements. 5 U.S.C. § 7121(a)(1).

The complaint can be “concerning any matter relating to the employment of any employee;” “the


                                                   19
     Case 1:25-cv-10276-GAO             Document 39-1         Filed 02/06/25       Page 26 of 31



effect or interpretation, or a claim of breach, of a collective bargaining agreement; or” “any claimed

violation, misinterpretation, or misapplication of any law, rule, or regulation affecting conditions of

employment.” Id. § 7103. They may also seek to challenge a failure to negotiate. 5 U.S.C. § 7117(c).

The success of these endeavor will depend on a variety of threshold and substantive questions to be

addressed by the FLRA. Plaintiffs assert that they will fail. Mot. at 14–15 & n.5. But that is ultimately

of no matter.

        As then-Judge Roberts explained for the D.C. Circuit in Graham v. Ashcroft, the CSRA in some

circumstances will properly provide a plaintiff “no relief and preclude[] other avenues of relief.” 358

F.3d at 935. There, for example, the aggrieved employee lacked any recourse for an alleged failure of

the agency to follow its own regulations. Id. And Judge Tatel held in Filebark that the CSRA precluded

“use [of] the APA to litigate [a] pay dispute with the Federal Aviation Administration” even though

“the CSRA provide[d plaintiffs] no protection.” 555 F.3d at 1010. This is not a bug of the CSRA. It

is a feature. “[W]e treat the CSRA and Congress’s related employment statutes as covering the field of

federal employee claims, and so our cases expressly teach that those left out of this scheme are left

out on purpose.” Id. at 1014.

        Congress has provided Plaintiffs with the exclusive method to resolve questions related to

federal employment. These APA claims are wholly outside of that plan. The Court should accordingly

deny the motion for a TRO.

     B. Plaintiffs Have Failed To Challenge Final Agency Action Reviewable Under the
        APA

         Even if Plaintiffs’ claims were not precluded under the comprehensive schemes set forth in

the CSRA and the FSL-MRS, their claims would still fail because the voluntary resignation program is

not final agency action subject to judicial review under the APA. The APA subjects “final agency

action” to judicial review. 5 U.S.C. 704. To qualify as a reviewable “final” agency action, the challenged

action must both mark the consummation of the agency’s decision-making process and be one by

                                                   20
     Case 1:25-cv-10276-GAO             Document 39-1         Filed 02/06/25       Page 27 of 31



which “rights or obligations have been determined” or from which “legal consequences may flow.”

Bennett v. Spears, 520 U.S. 154, 177-78 (1997). Under the second prong, agency action typically has legal

consequences where it has the status of law and immediate compliance with its terms is expected. FTC

v. Standard Oil Co., 449 U.S. 232, 239-40 (1980).

        Regardless, if Plaintiffs could establish that the January 28 email reflects the consummation of

OPM’s decision-making process, that email announcing the voluntary resignation program does not

determine any rights or obligations, and no legal consequences flow from the program itself. Rather,

any legal consequences would flow from a federal employee’s choice in accepting the voluntary

resignation offer. See Friends of Merrymeeting Bay v. U.S. Dep’t of Commerce, 810 F. Supp. 2d 320, 327 (D.

Me. 2011) (drawing distinction between an Endangered Species Act consultation, which did not

constitute final agency action, and any subsequent safe harbor that flowed from the consultation,

which would constitute final agency action). Indeed, the voluntary resignation program “does not

require anyone to do anything” and certainly does not demand any sort of compliance—let alone

immediate compliance—with its terms. See Ca. Communities Against Toxics v. EPA, 934 F.3d 627, 640

(D.C. Cir. 2019). Accordingly, because the voluntary resignation program does not determine any

rights or obligations, and no legal obligations flow from the existence of the program, as opposed to

a federal employee’s acceptance of the offer, Plaintiffs cannot succeed under the APA and their

request for a temporary restraining order should be denied.

     C. Plaintiffs’ APA Challenge Concerning the Anti-Deficiency Act Lacks Merit

        For the reasons explained above, Plaintiffs’ claims fail due several independent bars on this

Court’s review of them. But if the Court should even reach Plaintiffs’ fallback Anti-Deficiency Act

argument, it should reject that too. Plaintiffs allege that OPM entered into contracts or obligated

expenditures “prior to an appropriation” in contravention of the Anti-Deficiency Act. Mot. at 11–12;

see also 31 U.S.C. § 1341(a)(1)(B) (prohibiting entering into a “contract or obligation for the payment


                                                    21
       Case 1:25-cv-10276-GAO             Document 39-1        Filed 02/06/25         Page 28 of 31



of money before an appropriation is made unless authorized by law”). But there is nothing new about

what OPM has done here. Any person who has chosen a deferred resignation has received no new

position—the individual merely continues working pursuant to the same appropriation that had

already authorized the employee position. There is nothing unlawful about the government hiring an

individual for employment that can last far into the future. Nor are there Anti-Deficiency Act concerns

with retention of employees on tenure—making it potentially impossible to remove them between

one appropriation and another. For the same reason, a deferred resignation lacks any Anti-Deficiency

Act flaw.

        This is reaffirmed by the standard understanding of government obligations. “Although the

agency itself cannot disburse funds beyond those appropriated to it, the Government’s ‘valid

obligations will remain enforceable.’” See Salazar v. Ramah Navajo Chapter, 567 U.S. 182, 191 (2012)

(citation omitted). While it is possible that the “the Government commits its appropriations in a

manner that leaves contractual obligations unfulfilled,” often a counterparty is “free to pursue

appropriate legal remedies arising because the Government broke its contractual promise.” Id. at 198

(quoting Cherokee Nation of Oklahoma v. Leavitt, 543 U.S. 631, 642 (2005)). While there are contours to

this doctrine, it supports the commonsense understanding of how a deferred resignation may lawfully

operate.

III.        THE BALANCE OF THE EQUITIES AND PUBLIC INTEREST WEIGHS
            HEAVILY AGAINST THE IMPOSITION OF A TEMPORARY
            RESTRAINING ORDER

            The balance of equities and public interest also weigh heavily against Plaintiffs. These final

two factors of the preliminary injunction analysis merge where relief is sought from the government.

Nken, 556 U.S. at 435. “In each case, courts ‘must balance the competing claims of injury and must

consider the effect on each party of the granting or withholding of the requested relief.” Winter, 555

U.S. at 24 (quoting Amoco Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 542 (1987)).


                                                     22
      Case 1:25-cv-10276-GAO            Document 39-1         Filed 02/06/25       Page 29 of 31



         Plaintiffs first contend that the balance of the equities and public interest supports a

temporary restraining order because it has demonstrated a likelihood of success on the merits. Mot.

at 19. But as explained in detail above, Plaintiffs face numerous, insurmountable hurdles to relief in

this case that makes their likelihood of success extremely low.

         Plaintiffs next contend that the public has “a strong interest in the effective operations of the

federal government and the functioning of its critical agencies.” Mot. at 19-20. This is simply a

rearticulation of their first argument that they have demonstrated a likelihood of success on the merits.

Once again, that contention is incorrect.

        Finally, Plaintiffs contend that any harm to OPM in staying the closing date for acceptance of

the deferred resignation offer would be minimal. Mot. at 20. Plaintiffs’ argument is misplaced. The

federal government has clearly and repeatedly informed the federal workforce that they had to accept

the deferred resignation offer by today, February 6, 2025. Presumably, numerous federal employees

have relied upon this representation in making their voluntary decision whether to accept or decline

the offer. Extending that deadline on the expiration date would not just engender confusion and upset

expectations, but perhaps more importantly, would disrupt a critical priority of the Executive Branch

to reform the federal workforce. See opm.gov/fork (explaining President Trump’s directives concerning

the reformation of the federal workforce). Accordingly, the serious harm to the federal government

in effectuating these important reformations to the federal workforce far exceeds any claimed harm

to the Plaintiffs and strongly cautions against the imposition of a temporary restraining order or an

administrative stay.

IV.      ANY INJUNCTIVE RELIEF IN THIS CASE SHOULD BE LIMITED TO THE
         PLAINTIFFS

        Finally, even if Plaintiffs had standing and made the showing required for extraordinary

preliminary relief, the nationwide injunction they seek would be inappropriate. Despite only

representing certain federal employees in certain agencies, Plaintiffs improperly seek a nationwide

                                                   23
     Case 1:25-cv-10276-GAO               Document 39-1           Filed 02/06/25        Page 30 of 31



temporary restraining order that would broadly apply to all federal employees—including those who

are not represented by these unions and including those who do not want any relief. ECF No. 11-1

(proposing that “the February 6 Deadline for federal employees to accept the Fork in the Road

Directive is stayed,” and that “within 24 hours of this Order, Defendants must provide written notice

of this Order to all federal employees who have received the Directive[.]”).

        Both constitutional and equitable principles require that injunctive relief be limited to

redressing Plaintiffs’ own cognizable injuries. Article III demands that “a plaintiff must demonstrate

standing . . . for each form of relief that is sought.” Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645,

1650 (2017) (citation omitted). “The remedy” sought must “be limited to the inadequacy that produced

the injury in fact that the plaintiff has established.” Lewis v. Casey, 518 U.S. 343. 357 (1996). “The

actual-injury requirement would hardly serve [its] purpose . . . of preventing courts from undertaking

tasks assigned to the political branches[,] if once a plaintiff demonstrated harm from one particular

inadequacy in government administration, the court were authorized to remedy all inadequacies in that

administration.” Id. And equitable principles independently require that an injunction “be no more

burdensome to the defendant than necessary to provide complete relief to the plaintiffs.” Madsen v.

Women’s Health Ctr., Inc.., 512 U.S. 753, 765 (1994) (citation omitted); see also Monsanto Co. V. Gerston

Seed Farms, 561 U.S. 139, 163 (2010) (narrowing injunction in part because the plaintiffs “do not

represent a class, so they could not seek to enjoin an order on the ground that it might cause harm to

other parties”). Accordingly, any preliminary injunctive relief in this case should be limited to only

addressing the claimed harms of the Plaintiffs and go no further.


                                              CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court deny Plaintiffs’

motion for a temporary restraining order.



                                                      24
    Case 1:25-cv-10276-GAO   Document 39-1    Filed 02/06/25       Page 31 of 31



Dated: February 6, 2025                  Respectfully submitted,

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                                    25
